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                                                                                            GUARANTY

                    THIS         GUARANTY                         made          as   of the           30th day of October                         2013       jointly       and        severally          by
each           of the undersigned                          each         a New York corporation each a Guarantor and collectively
the        Guarantors                              in    favor          of WELLS   FARGO BANK NATIONAL ASSOCIATION                                                                                         a

national                 banking           association           the      Bank
                                                                                     WITNESSETH

                    WHEREAS

                    A.                Bouchard            Transportation                   Co.        Inc.       a   New         York corporation               the        Borrower                     has

 entered                 into    an        Loan Agreement                      dated        as       of October                 30 2013 such agreement                             including             all


 exhibits                 and      schedules               thereto              as    it
                                                                                                may        from           time      to    time         be     amended                 modified            or

 supplemented                         is    hereinafter               referred        to        as   the    Loan Agreement                             with     the     Bank           pursuant           to

 which              the     Bank           has    agreed         to    make          loans to the Borrower                          in the       aggregate         principal               amount of

 One Hundred                       Million Dollars                     $100000000                          upon and               subject        to    the    terms        and conditions of
 the   Loan Agreement


                    B.                Each        Guarantor             is     a wholly-owned                        subsidiary of the Borrower                             and       as   such     will

 derive             benefits               both       directly        and      indirectly              from the             Borrowers             receipt       of the proceeds                   of the

 Loans              to    be made by               the    Bank         pursuant to the Loan Agreement


                     C.               It    is    a     condition            precedent               to    the        obligation          of      the      Bank       to    make           the     loans

 provided                  for     in       the       Loan       Agreement                  that       each          of     the    Guarantors                execute        and        deliver          this


 Guaranty and


                     D.               All capitalized                  terms used               herein that               are   defined         in the       Loan Agreement                  and        that

 are       not           otherwise              defined         herein          shall      have           the    respective              meanings            ascribed        to       them       therein

 unless the context                             otherwise         requires



                     NOW THEREFORE                                        in     order to              induce             the    Bank      to    execute          and      deliver          the    Loan

 Agreement                      and        to   make      the    Loans contemplated                             thereunder               and     in    consideration              of the benefits

 expected                  to     accrue           to    the      Guarantors                    by     reason             thereof        and      for      other      good         and valuable

 consideration                        receipt          and     sufficiency            of which              is
                                                                                                                 hereby            acknowledged                each        of the Guarantors

 hereby represents                              and warrants            to and covenants                        and agrees with                  the    Bank       as   follows



                     1.               Each        Guarantor              hereby            irrevocably                and unconditionally                      guarantees             to    the    Bank

 the       punctual                payment               of     the      full        amount               when            due whether                 by     demand          acceleration                 or

 otherwise                      of      a        the    principal            of and interest                    on and            fees    and expenses             due pursuant                   to     the

 note issued by the Borrower                                          pursuant             to    the      Loan Agreement                    hereinafter            referred            to together
 with                       and                  amendments                  modifications                      substitutions             and/or           replacements                thereof and
                   any                 all


 thereto as the                       Note               and     b       all    other Indebtedness                          liabilities         and     obligations          of the Borrower

 to    the          Bank         whether               under     the     Loan Agreement                          or otherwise             created            whether        now        or hereafter

 existing                 and whether                  or not currently                   contemplated                     due or    to    become            due    direct        or contingent

 joint several                    or independent                      secured         or unsecured                   and whether            matured            or unmatured all of the

 Indebtedness                         liabilities         and         obligations               included             in    clauses       a and b               of this paragraph                    I    are

 hereinafter                    referred           to    collectively                as    the       Guaranteed                    Obligations.                 This        is    a    guaranty           of




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                                                                                                                                                                                             EXHIBIT 2
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payment            and not of collection                         and        is    the       primary        obligation             of each         Guarantor and                  the    Bank

        enforce            this       Guaranty            in   full    at    any time              after       the     occurrence             of any Event             of Default             as
may
                                 of                Loan                                                        each       of    the     Guarantors            without         any
defined         in
                          any              the                 Agreement                    against                                                                                      prior

enforcement                of the Guaranteed                    Obligations against                        the       Borrower            any other guarantor                 including

                                                                                                   Collateral.
any other Guarantor                         hereunder               or against           any


              2.               All payments                   made by any                Guarantor              under         or by virtue           of this Guaranty             shall        be

paid     to    the        Bank        at    its   office       at     58    S.     Service             Road          Suite      100      Melville        NY         11747          or such

other place                            Bank                    hereafter           designate              in                      Each        Guarantor         hereby           agrees
                                                                                                                                                                                               to
                          as    the                 may                                                         writing.

make                                       under     or by virtue                of this Guaranty                    to   the    Bank       as aforesaid.           The Bank             shall
          all      payments
not    be required otherwise                             to    establish           its      authority           to    receive         any payment             made        under         or by

virtue    hereof.




                               Each         Guarantor                             waives          notice of acceptance                      of this Guaranty              notice of the
              3.                                                hereby
                    renewal            or     accrual          of any             of    the       Guaranteed                Obligations            and notice           of    any        other
creation
                                                                                                                     or proof of reliance                           Bank                      this
liability to          which           this    Guaranty           may apply and                         notice                                           by    the                upon
                      and waives                  diligence            protest              notice       of protest              presentment             demand           of payment
Guaranty
              of dishonor                                                   of any           of the        Guaranteed                 Obligations           suit    or taking            other
notice                                     or nonpayment

                                                                                   and any other                                              Borrower or any other party
                                      any demand
action                                                                                                               notice      to   the
              or making                                         against

liable        thereon.                              the       existence            of an Event                  of Default              the     Bank        may      at    its    election
                                  During
foreclose           on any        security           held by the Bank                        by one        or more judicial                  or nonjudicial            sales whether

                                                                                                                                                      the     extent      such         sale     is
or not         every           aspect        of     any such               sale    is       commercially                  reasonable            to

                                                    law        or     exercise           any other right or remedy                              the   Bank      may have               against
permitted            by applicable
the    Borrower                or any other party                      or any security                    without            affecting        or impairing           in   any way             the


                   of any Guarantor                      hereunder                                 the     extent         the    Obligations have               been      indefeasibly
liability                                                                    except to
                                             and      the      Commitment                        has    been         terminated.              Each     Guarantor             waives           any
paid     in        full    in    cash
                                                                                                                                                  such                                          to
defense            arising        out       of any            such     election             by     the    Bank            even        though                election         operates

                                                                                                                                         or other right or remedy                       of the
impair or extinguish any right of reimbursement                                                           or subrogation

Guarantors                against          the    Borrower or any other party or any                                        security.




               4.               So     far as       each       Guarantor               is   concerned                 the    Bank      may       at   any time and from time

to     time without                   the    consent           of or        notice          to    any Guarantor and without                             impairing          or releasing
                                                                                                                                                                        and
any of the obligations                            of any Guarantor                     hereunder               upon or without                  any terms or conditions
in whole or in part




                                a                 modify or change                     the       manner          place         or terms of and/or                 change         or extend

                                                                                                                                                                                   therefor
 the    time of payment                      of renew or               alter           any of the Guaranteed                          Obligations           any     security

                           incurred directly                   or indirectly                in respect           thereto         and     this    Guaranty         shall      apply       to    the
 any     liability

 Guaranteed                Obligations as so modified changed                                             extended renewed or altered


                                b                 sell    exchange               release           surrender              realize      upon or otherwise                  deal with             in


                           and                                        whomsoever                                                 at    any time pledged                or mortgage              to
 any manner                           in    any order any property by
 secure or howsoever                              securing          the     Guaranteed                  Obligations              or any         liabilities     including               any of
                                                                                                                              thereof or hereof               and/or               offset       or
 these hereunder                       incurred directly                   or indirectly                in respect                                                        any

 right    with respect                 thereto




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                            c           exercise             or refrain              from exercising any                            rights       against              the    Borrower            or

others       including                without          limitation                          other         guarantor              of        payment               of     the       Guaranteed
                                                                               any
Obligations              or otherwise             act       or refrain             from         acting      and when                 making            any demand                  hereunder

against      any Guarantor               the      Bank            may        but shall be under                   no    obligation              to make               a similar demand

on any other guaranty of payment                                   of the Guaranteed                        Obligations                and any             failure         by    the    Bank     to

make any            such      demand         or to          collect          any payments                   from or             release          of any other guarantor                          of

payment            of the      Guaranteed              Obligations                 shall        not relieve            any Guarantor                       of    its   obligations              and

liabilities        hereunder           and shall not release                             impair or affect                    the rights          and remedies express or

implied            or as      a matter           of   law         of the          Bank          against          the    Guarantor                for        the       purposes           hereof

demand              shall     include       the       commencement                       and continuance                  of any legal proceedings



                            d           settle         or compromise                       any        of    the      Guaranteed                  Obligations                 any        security

therefor           or any      liability         including               any       of those hereunder                           incurred directly                      or indirectly             in


respect thereof or hereof                        and subordinate                     the       payment           of    all    or any part              thereof to the payment

of any liability whether                     due or not of                     the       Borrower           to    creditors            of the Borrower                      other than the

Bank        and such Guarantor


                              e         apply          any sums by whomsoever                                    paid or howsoever                         realized          to    any of       the

Guaranteed            Obligations            regardless                of what           liability         or   liabilities          of    the    Borrower remain unpaid

and


                              f         amend           or        otherwise              modify any of                    the       Loan        Agreement                   consent        to    or

waive any breach                   of or any act                  omission           or        default      or Event            of Default             under           any of the Loan
Agreement             any of the Notes or any agreements instruments or documents referred                                                                                       to therein      or

executed           and delivered pursuant thereto or in connection therewith and this Guaranty                                                                                    shall    apply

to    the    Guaranteed               Obligations                 as    set       forth        in    each       of     such         documents                as       so    amended             and

modified.            Any       such     action          shall          not impair or release                      any of the obligations                              of any Guarantor

hereunder.



              5.              No   invalidity           irregularity               or unenforceability of                           all   or any part                of    the    Guaranteed

Obligations or of any security                              therefor           shall       affect          impair or be a defense                           to    this      Guaranty and
this     Guaranty             shall    be        construed              as    a     continuing                  absolute            and unconditional                        guarantee           of

                   without                   to       the                                              or enforceability                    of the          Loan Agreement                       the
payment                            regard                    validity regularity
Notes       or any of the other Guaranteed                                   Obligations or any collateral                                 security             therefor          or guaranty

thereof or rights               of offset        with respect                 thereto          at    any time or from time                        to       time held by the Bank

and without              regard to any defense                         offset       or counterclaim                    that     may       at    any time be                 available       to     or

be     asserted          by    the    Borrower               against          the        Bank        or that           constitutes               or    might           be construed                to


constitute           a     defense          or    equitable              or       legal         discharge            of       the     Borrower                  for    the        Guaranteed

                         or any part         thereof of any Guarantor                                 under          this     Guaranty                in    bankruptcy                 or in any
Obligations
other instance.



              6.              Each     Guarantor             hereby           acknowledges                  that       the     value        of certain               collateral         security

transferred assigned and pledged                                   to    and with              the    Bank        as    provided               in the       Loan Agreement                      will

be    adversely           affected       by any right of the                         Guarantor              to    be      subrogated              to       the    rights         of the Bank

with respect                                                       of the Borrower to                       the      Bank.                                           until       such    time as
                         to   any indebtedness                                                                                       Accordingly
the    Guaranteed                                       are                  in    full        the    Guarantor               hereby           irrevocably                waives          for    the
                               Obligations                        paid
                                                                                                                                                                                  whether
benefit       of the          Bank     any and              all    rights         that    it    presently         has         or     may       hereafter              have                       by




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virtue    of any payment                       or payments              hereunder              or otherwise            to    be       subrogated            to    the    rights        of the

Bank     against            the   Borrower with                                 to any such             indebtedness              of the Borrower to the Bank.
                                                                  respect



             7.               Each        Guarantor               agrees to            be     bound        by     and       to    comply             with        all    of the        terms

covenants          and provisions of each                          Loan Agreement                    to    the    extent         that    the       same impose                obligations

in respect         of or grant rights                  against       it   as    a Guarantor             or otherwise.



             8.               Each        Guarantor            makes           the     following          representations                and warranties                      which      shall


survive        the   execution             and       delivery        of this Guaranty



                              a             The       Guarantor              has       examined           the    Loan Agreement                       including              the    exhibits


and schedules                   thereto          and        all    of     the      representations                and warranties                     set    forth        in     the     Loan

Agreement               to    the    extent         the     same    relate         to the      Guarantor           are true           and     correct.




                               b               The     Guarantor             is    a    corporation              duly       organized               validly           existing        and    in


good standing under                        the      laws     of the       State         of    New    York.         The       Guarantor               has    all       requisite        power
and authority                                        or otherwise               to      execute         deliver        and perform                  this    Guaranty                and has
                               corporate
taken      all     necessary               action           corporate           or      otherwise           to    authorize the                    execution             delivery           and

performance                  of     this       Guaranty.             This          Guaranty          has        been duly               executed            and delivered                   and

constitutes          the       valid       and       legally       binding           obligation           of the Guarantor                    enforceable              in     accordance

with     its  terms except as such enforcement  may be limited by applicable bankruptcy insolvency
       -flanization  or moratorium laws     now or hereafter  in effect relating to or affecting the


en.      ement               of creditors             rights       generally                and    further       subject         to     the    discretion              of the       court in

granting          the    remedy           of specific             performance                and other       equitable           remedies.



                               c               No     consent           or     approval            of     any     Person           including                without            limitation

stockholders                 of the Guarantor                     no consent             or approval             of any landlord or mortgagee no waiver

of     any        Lien       or     right       of     distraint          or      other       similar       right       and no              consent             license            approval

authorization                or     declaration             of any Governmental Authority                                        bureau            or agency             is    or will       be

                   in       connection               with     the       execution              delivery           performance                      validity           enforcement             or
required

priority          of this Guaranty                    or any        other agreements                      instruments             or documents                   to    be executed           or

delivered pursuant hereto or thereto.



                               d               The     execution             and        delivery        of this Guaranty                      and any other agreements

instruments                 or documents               to    be    executed             and delivered hereunder                          and performance                       herein       and

thereunder              will        not     violate          any     provision                of   law       statute         rule        or        regulation           to     which         the


Guarantor               is    subject          or     conflict       with          or       result   in     a    breach          of      any judgment                    decree          writ

injunction              ordinance               resolution           award             franchise           order       permit           or other similar                    document          or

instrument of any court or Governmental Authority                                                           bureau          or agency               domestic            or foreign            or

the     charter         or by-law           of the Guarantor                      or create        with         or without            the     giving of notice                 or lapse of

time or both                  a default          under       any agreement bond note or indenture                                             to    which        the    Guarantor           is   a

party or by which                    it   is   bound.



                               e               Each of        the    Guarantors               hereby appoints               the        Borrower            to act      as    its
                                                                                                                                                                                    agent    for


 all    purposes             under        the       Loan      Documents                 and agrees              that    i        the     Borrower            may         execute          such

 documents              on behalf              of such       Guarantor             as    the      Borrower deems appropriate                               in    its   sole        discretion

 and each          Guarantor               shall      be obligated by                   all   of the terms of any such                             document            executed         on    its




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                                      or communication delivered by the Bank                                             shall       be   deemed       delivered to each
behalf     ii any         notice

                  and iii the Bank                                                and be permitted                              on any document                    instrument
Guarantor                                               may     accept                                             to   rely

or agreement           executed         by     the      Borrower on behalf of each                               Guarantor.



           9.            All notices                                      demands            or    other communications                     hereunder          shall    be    in
                                                   requests

writing either          by     letter    delivered               by hand or commercial                           messenger            service        or sent by certified

                                                         or telegram              or telecopy             addressed        as    follows
mail     return    receipt          requested



                         a             If to       any Guarantor


                                       c/o     Bouchard              Transportation                 Co.     Inc.

                                       58     S.    Service Drive

                                       Suite        150

                                       Melville            New York                    11747

                                       Attention               Morton          S.      Bouchard           III    President

                                       Telecopier               No.        631         390-4955



                                       with a copy to



                                        Stephen           I.   Siller        Esq.

                                        LeClairRyan                   A Professional                Corporation

                                        885     Third Avenue                   -       161    Floor

                                        New York New                        York        10022

                                        Telecopier              No.         212        430-8065


                          b             If to      the    Bank


                                        Wells           Fargo        Bank         National         Association

                                        58    S.    Service           Road          Suite     100

                                        Melville               NY         11747

                                        Attention              Edward             P.   Nallan       Jr.



                                        Telecopier              No.         516-577-8333



                                        with a copy to



                                        King              Spalding            LLP
                                        100        N.    Tryon        St.


                                        Charlotte              North Carolina
                                        Attention               Justin       Riess

                                        Telecopier              No.         704         503-2622



 Any      notice        request         demand            or other communication                                hereunder        shall     be deemed          to    have been

 given     on     x      the    day on which                    it   is    telecopied         to    such        party at       its    telecopier       number        specified

                                                                                                                                           of the other methods                  of
 above provided                such     notice           shall       be     effective        only if followed               by one
 delivery       set    forth    herein          or delivered by receipted                           hand or such               commercial             messenger        service


 to   such      party at        its   address            specified            above          or    y on           the    third       Business         Day    after     the   day

 deposited        in    the    mail postage                    prepaid         if sent        by mail or                z on      the     day   it    is   delivered to      the


 telegraph        company             addressed           as     aforesaid if sent by telegraph.                            The Bank            or the Guarantor             may



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change     the      Person         address or               telecopier      number            to    whom           or which           notices      are       to   be given

                                                                                                         however          that     any such         notice         shall        be
hereunder by notice                     duly given            hereunder           provided

deemed       to    have been given                    hereunder         only    when         actually         received           by   the    party      to    which        it   is



addressed.



           10.            No   delay          on    the part    of the Bank           in    exercising any of                its   options        powers or rights
and no                    or    single             exercise     thereof        whether         arising         hereunder              under       any        of the     Loan
             partial

Agreement            any of the Notes                     or otherwise         shall        constitute         a waiver          thereof or affect                any   right

hereunder.          No    waiver         of any of such            rights      and no modification                        amendment           or discharge            of this

                  shall   be   effected            unless executed          and delivered                in   accordance           with the provisions of the
Guaranty
                                                              waiver                                                                        the                    instance
Loan     Agreement             and then              such                 shall      apply         only with             respect      to          specific

involved      and     shall     in   no way impair                the    rights      of the        Bank       or   the    obligations         of the Guarantor                  to


the   Bank    in    any other           respect        at   any other     time.




           11.    GUARANTY AND THE RIGHTS AND OBLIGATIONS OF THE
                          THIS
BANK AND THE GUARANTORS HEREUNDER SHALL BE GOVERNED BY AND
CONSTRUED AND ENFORCED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF NEW YORK WITHOUT REGARD TO ITS RULES PERTAINING             TO
CONFLICTS OF LAWS.       EACH GUARANTOR   WAIVES   TRIAL BY JURY IN ANY
LITIGATION IN ANY COURT WITH RESPECT TO IN CONNECTION WITH OR
ARISING OUT OF THIS GUARANTY.       IN THE EVENT THE BANK BRINGS ANY
ACTION  OR  SUIT  IN ANY  COURT OF RECORD  IN THE STATE OF NEW YORK TO
ENFORCE ANY OR ALL LIABILITIES         OF ANY   GUARANTOR HEREUNDER
SERVICE OF PROCESS MAY BE MADE UPON ANY GUARANTOR BY MAILING A
COPY OF THE         SUMMONS TO THE GUARANTOR BY CERTIFIED OR
REGISTERED MAIL AT THE ADDRESS SPECIFIED IN PARAGRAPH 9 HEREOF
AND EACH GUARANTOR HEREBY CONSENTS TO THE JURISDICTION OF THE
COURTS OF THE STATE OF NEW YORK COUNTY OF NEW YORK AND THE
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW
YORK OVER THE PERSON OF SUCH GUARANTOR AND HEREBY WAIVES ANY
CLAIM OR DEFENSE IN ANY SUCH ACTION OR PROCEEDING BASED ON ANY
ALLEGED LACK OF PERSONAL JURISDICTION IMPROPER VENUE OR THAT
NEW YORK COUNTY OR THE SOUTHERN DISTRICT OF NEW YORK IS AN
INCONVENIENT     FORUM. EACH GUARANTOR HEREBY WAIVES THE RIGHT TO
INTERPOSE COUNTERCLAIMS OR SET-OFFS OF ANY KIND AND DESCRIPTION
IN ANY SUCH ACTION OR SUIT ARISING HEREUNDER OR IN CONNECTION
HEREWITH UNLESS SUCH COUNTERCLAIM OR SET-OFF WOULD UNDER
APPLICABLE LAW BE PERMANENTLY AND IRREVOCABLY LOST IF NOT
ASSERTED   IN SUCH ACTION OR SUIT. EACH GUARANTOR ACKNOWLEDGES
THAT THE FOREGOING WAIVERS CONSTITUTE           A MATERIAL INDUCEMENT
FOR THE BANK TO ACCEPT THIS GUARANTY.

             12.          If   claim          is   ever     made upon       the      Bank          for   repayment           or recovery           of any         amount or

 amounts           received                    in                 or on account                of any of the               Guaranteed             Obligations           and      it
                                   by    it
                                                     payment

 repays      all   or part     of such             amount by reason of any                     a judgment                  decree       or order of any court or

 administrative            body         having         jurisdiction         over       it    or     any of          its   property           or   b          settlement or

 compromise of any such                            claim effected         by    it   with any such                 claimant           including         the       Borrower




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then            and     in     either      such       event         each        Guarantor            agrees that             any such             judgment             decree           order

settlement                or        compromise                shall        be      binding                        such        Guarantor                   notwithstanding                  the
                                                                                                      upon
cancellation                   of    any        instrument            evidencing                any       of     the    Guaranteed                 Obligations                    and    each

Guarantor               shall       be and remain              liable      hereunder            for the         amount so repaid or recovered                                to   the    same
extent           as if   such       amount had never                  originally             been received by                 the      Bank.



                  13.            This      Guaranty               shall    be      binding           upon        each        Guarantor             and         its    successors          and

assigns            and        shall      inure        to    the    benefit         of     the     Bank         and     its    successors               and assigns                provided

however                that     no Guarantor                shall    be    entitled        to     assign or delegate                   any of       its   rights       or obligations

under           this    Guaranty           without           the prior       written consent                of the      Bank and any                    purported            assignment

in the           absence         of such        consent           shall    be     void.         This Guaranty                embodies             the     entire      agreement           and

understanding                    between             the    Bank      and        the    Guarantors              relating          to   the    subject           matter       hereof       and

supersedes               all    prior      agreements             and understandings                      relating      to the         subject         matter hereof.



                  14.            a              The provisions of                  this    Guaranty             are severable.               If
                                                                                                                                                  any clause or provision


                  shall       be held       invalid          or unenforceable                   in    whole or          in part         in   any jurisdiction                     then    such

invalidity              or unenforceability                   shall       affect       only such           clause or provision                      or part          thereof        in    such

jurisdiction                 and    shall    not in any manner                     affect       such       clause or provision in any other jurisdiction




                                                of-1
or any other clause or provision in this Guaranty                                                    in   any   jurisdiction.



                                 b              If    any      other        guaranty            by        any     one        or    more           other        guarantors            of    the

Guaranteed                   Obligations             is    held or determined                to   be      void     invalid         or unenforceable                    in    whole or       in


part        such        holding          or determination                 shall    not impair or affect                    the     validity        and     enforceability



                                                              the    guaranty           hereunder           by each          Guarantor which                         shall   continue       in

full       force       and      effect     in   accordance            with       its    terms or


                                                ii            any      clause           or      provision            not      so       held       to      be      void        invalid       or

unenforceable.



                                 c              This Guaranty               is   the joint           and   several         obligation             of each        of the Guarantors

hereunder               and      shall     be construed               as   if    each     Guarantor             has separately               obligated itself pursuant                      to

the        terms hereof              without          reference        to the       obligations            of any other Guarantor.



                                                     Remainder             of this page              intentionally           left      blank




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           IN   WITNESS     WHEREOF       the undersigned               have each caused     this   Guaranty      to   be duly

executed    and delivered   as of the day and year      first    above written.


                                                       B.   NO.       210 Corp.

                                                       B.   NO.       215 Corp.

                                                       B.   NO.       225 Corp.

                                                       B.   NO.       245 Corporation

                                                       B.   NO. 250 Corp.
                                                       B.   NO.
                                                              260 Corporation

                                                       Tug Brendan  J. Bouchard
                                                                                Corp.
                                                       Tug Danielle M. Bouchard Corp.
                                                       Tug      Jane      A. Bouchard Corp.

                                                       Tug Evening              Star Corp.




                                                       By
                                                               Title      President   of and on     behalf   of
                                                               each of the above-named          corporations




                                           Signature    Page    to   Guaranty
